   Case: 1:19-cv-03924 Document #: 152 Filed: 04/14/22 Page 1 of 4 PageID #:1401




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 IN RE FAIRLIFE MILK PRODUCTS
 MARKETING AND SALES PRACTICES                      MDL No. 2909
 LITIGATION
                                                    Master Case No. 19-cv-3924

 This Document Relates to:                          Judge Robert M. Dow, Jr.

 ALL CASES


  PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
      SETTLEMENT, PRELIMINARY CERTIFICATION, AND APPROVAL
OF NOTICE PLAN PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 23(e)(1)

       Pursuant to Federal Rule of Civil Procedure 23(e)(1), Plaintiffs respectfully seek Court

approval of a $21-million non-reversionary class action Settlement to resolve the above-captioned

multidistrict litigation. Under the Settlement, Claimants will be eligible to receive up to $20 for

claims without Valid Proof of Purchase, and up to $80 for claims with Valid Proof of Purchase,

for a total of $100 in possible relief, subject to pro rata increases or decreases depending on the

number of claims filed. The Settlement also includes meaningful injunctive relief. All of these

terms were subject to hard-fought negotiations led by the Hon. Wayne R. Andersen (Ret.) acting

as mediator. None of the $21 million Settlement Fund will be used to fund the injunctive relief.

       Plaintiffs believe that the Settlement is an excellent result for the Class, and that it provides

fair, adequate, and reasonable relief to resolve this Litigation. They respectfully request that the

Court preliminarily approve the Settlement, preliminarily certify the Settlement Class, approve the

Class Notice Program and appoint the parties’ jointly-selected Claims Administrator, direct notice

to the Settlement Class Members, and enter the Parties’ Proposed Order Granting Preliminary

Approval, which sets a timeline for the Court’s Fairness Hearing.
   Case: 1:19-cv-03924 Document #: 152 Filed: 04/14/22 Page 2 of 4 PageID #:1402




Dated: April 14, 2022                 Respectfully submitted,

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     Case: 1:19-cv-03924 Document #: 152 Filed: 04/14/22 Page 3 of 4 PageID #:1403




                                  SIGNATURE ATTESTATION

       Pursuant to the United States District Court for the Northern District of Illinois’ General Order

on Electronic Case Filing, General Order 16-0020(IX)(C)(2), I hereby certify that authorization for

the filing of this document has been obtained from the signatories shown above and that each

signatory concurs in the filing’s content.


                                                       /s/ Amy E. Keller
                                                       Amy E. Keller




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   Case: 1:19-cv-03924 Document #: 152 Filed: 04/14/22 Page 4 of 4 PageID #:1404




                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed using this Court’s CM/ECF service,

which will send notification of such filing to all counsel of record this 14th day of April 2022.


                                                      /s/ Amy E. Keller
                                                      Amy E. Keller




                                                 4
